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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF VERMONT
 Tyler Baker, Individually and on behalf       Case No. 2:20-cv-00115
 of all others similarly situated,

                     Plaintiff,                NOTICE OF VOLUNTARY DISMISSAL
                                               OF ACTION WITHOUT PREJUDICE
 v.                                            AS TO THE NAMED PLAINTIFF AND
                                               WITHOUT PREJUDICE AS TO THE
 Native Hemp Co.,                              PUTATIVE CLASS

                     Defendant.


      Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Tyler
Baker hereby moves this Court to dismiss the above entitled action without prejudice
as to the named Plaintiff and without prejudice as to the putative class.
      WHEREFORE, Plaintiff respectfully requests that this court dismiss this
action in its entirety without prejudice.



Date: September 1, 2020                            PETTERSEN LAW PLLC

                                              By: /s/ William Pettersen, Esq.
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